In proceedings for the probate of the estate of Samuel Klofanda, deceased, Iren C. Thomas and Olive, his wife, petitioned for the admission to probate of an instrument dated October 15, 1946, as the last will of the deceased.  His nephew and a sister objected to the probate of the instrument on the ground that the execution thereof by Klofanda was procured by undue influence exercised by the proponents of the will.  Upon a trial of the resulting issues the court found that the will was not procured by undue influence exercised upon the deceased, and that it was the product of his mind uninfluenced by the exercise of any undue influence on the part of said proponents or of anyone whatsoever.  From judgment admitting the will to probate the objectors thereto appealed.
Upon this appeal the members of the court are equally divided.  Mr. Chief Justice ROSENBERRY, Mr. Justice FRITZ, and Mr. Justice FAIRCHILD are of the view that the trial court's findings of fact are not against the great *Page 542 
weight and clear preponderance of the evidence and that therefore the judgment should be affirmed.  Mr. Justice WICKHEM, Justice BARLOW, and Mr. Justice HUGHES are of the contrary view and are in favor of reversal of the judgment. This situation necessarily results in the affirmance of the judgment.  Zohrlaut v. Mengelberg, 148 Wis. 592,134 N.W. 1135:  Carpenter Baking Co. v. Bakery Union, 238 Wis. 367,299 N.W. 30, 300 N.W. 225.
Judgment affirmed.